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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

SOCIAL POSITIONING INPUT                        §
SYSTEMS, LLC,                                   §           CASE NO. 4:21-CV-01557
                                                §
       Plaintiff,                               §
                                                §
VS.                                             §              JURY DEMANDED
                                                §
MOBISOFT INFOTECH, LLC,                         §                PATENT CASE
                                                §
      Defendant.                                §

    DEFENDANT’S ORIGINAL ANSWER, AFFIRMATIVE DEFENSES AND CLAIMS

       Defendant Mobisoft Infotech, LLC (“Defendant” and/or “Mobisoft” herein) comes before

this Court and hereby files this Defendant’s Original Answer, Affirmative Defenses 1 and Counter-

Claims (Defendant’s “Original Answer”), responding to Plaintiff’s Complaint (the “Complaint”)

filed by Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”), and in support thereof

would show unto the Court as follows:

                       I.      DEFENDANT’S ORIGINAL ANSWER

       1.      Paragraph 1 of the Complaint does not contain factual allegations that require a

response.

       2.      Paragraph 2 of the Complaint does not contain factual allegations that require a

response.




1
  Mobisoft denies liability for all allegations of patent infringement included or implied in the
introductory paragraph or in any headings of the Complaint.
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       3.      Mobisoft is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such

allegations.

       4.      Defendant admits the allegations contained in Paragraph 4 of the Complaint insofar

as it is a Texas limited liability company with an office located at 1811 Bering Dr., Suite 200,

Houston, Texas 77057, and denies the remaining allegations of Paragraph 4 of the Complaint.

       5.      Defendant does not dispute the jurisdictional allegations contained in Paragraph 5

of the Complaint, as Mobisoft does business within the State of Texas, but denies all other factual

allegations contained in Paragraph 5 of the Complaint

       6.      Defendant denies all factual allegations contained in Paragraph 6 of the Complaint.

       7.      Defendant does not contest venue is proper in this case. Mobisoft admits it has a

place of business in this District, but denies the remaining factual allegations contained in

Paragraph 7 of the Complaint.

                                 COUNT I
        (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365

       8.      Mobisoft incorporates paragraphs 1 through 7 herein by reference.

       9.      Paragraph 9 of the Complaint does not contain factual allegations that require a

response.

       10.     Defendant lacks the knowledge or information sufficient to form a belief about the

truth of the factual allegations contained in Paragraph 10 of the Complaint, and on that basis denies

all such allegations.

       11.     Defendant admits that a purported copy of U.S. Patent No. 9,261,365 (the “’365

Patent”) is attached to the Complaint as Exhibit A and that the face of that patent indicates that it




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is entitled “Device, System and Method for Remotely Entering, Storing and Sharing Addresses for

a Positional Information Device.”

       12.     Defendant denies the factual allegations in Paragraph 12 of the Complaint.

       13.     Defendant denies the factual allegations in Paragraph 13 of the Complaint.

       14.     Defendant lacks the knowledge or information sufficient to form a belief about the

truth of the factual allegations contained in Paragraph 14 of the Complaint because the alleged

‘365 Patent is so general and broad that it lacks novelty calling into question its validity and,

because the alleged ‘365 Patent is too vague, Defendant is unable to discern it compared with other

similar products to make a determination at this time, thus, on that basis, Defendant denies the

factual allegations in Paragraph 14 of the Complaint.

       15.     Defendant lacks the knowledge or information sufficient to form a belief about the

truth of the factual allegations contained in Paragraph 15 of the Complaint because the alleged

‘365 Patent is so general and broad that it lacks novelty calling into question its validity and,

because the alleged ‘365 Patent is too vague, Defendant is unable to discern it compared with other

similar products to make a determination at this time, thus, on that basis, Defendant denies the

factual allegations in Paragraph 15 of the Complaint.

       16.     Defendant lacks the knowledge or information sufficient to form a belief about the

truth of the factual allegations contained in Paragraph 16 of the Complaint because the alleged

‘365 Patent is so general and broad that it lacks novelty calling into question its validity and,

because the alleged ‘365 Patent is too vague, Defendant is unable to discern it compared with other

similar products to make a determination at this time, thus, on that basis, Defendant denies the

factual allegations in Paragraph 16 of the Complaint.




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          17.   Defendant lacks the knowledge or information sufficient to form a belief about the

truth of the factual allegations contained in Paragraph 17 of the Complaint because the alleged

‘365 Patent is so general and broad that it lacks novelty calling into question its validity and,

because the alleged ‘365 Patent is too vague, Defendant is unable to discern it compared with other

similar products to make a determination at this time, thus, on that basis, Defendant denies the

factual allegations in Paragraph 17 of the Complaint.

          18.   Defendant denies the factual allegations in Paragraph 18 of the Complaint.

          19.   Defendant denies the factual allegations in Paragraph 19 of the Complaint.

          20.   Defendant denies the factual allegations in Paragraph 20 of the Complaint.

                                     PRAYER FOR RELIEF

          21.   Mobisoft denies the Plaintiff is entitled to any relief from Mobisoft and denies all

the allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s Prayer for

Relief.

                              II.     AFFIRMATIVE DEFENSES

          22.   Mobisoft’s Affirmative Defenses are listed below. Defendant reserves the right to

amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                                FIRST AFFIRMATIVE DEFENSE

          23.   Mobisoft has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’365 Patent.




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                               SECOND AFFIRMATIVE DEFENSE

       24.      Each asserted claim of the ’365 Patent is invalid for failure to comply with one or

more of the requirements of the United States Code, Title 35, including without limitation, 35

U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                                THIRD AFFIRMATIVE DEFENSE

       25.      To the extent that Plaintiff and any predecessors in interest to the ’365 Patent failed

to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that Mobisoft’s actions allegedly infringe the ’365 Patent, Mobisoft

is not liable to Plaintiff for the acts alleged to have been performed before Mobisoft received actual

notice that it was allegedly infringing the ’365 Patent.

                               FOURTH AFFIRMATIVE DEFENSE

       26.      To the extent that Plaintiff asserts that Mobisoft indirectly infringes, either by

contributory infringement or inducement of infringement, Mobisoft is not liable to Plaintiff for the

acts alleged to have been performed before Mobisoft knew that its actions would cause indirect

infringement.

                                FIFTH AFFIRMATIVE DEFENSE

       27.      The claims of the ’365 Patent are not entitled to a scope sufficient to encompass

any system employed or process practiced by Mobisoft.

                                SIXTH AFFIRMATIVE DEFENSE

       28.      To the extent Plaintiff contends that it alleges a claim for indirect infringement

(whether by inducement or contributorily), Plaintiff has failed to state a claim upon which relief

can be granted.




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                              SEVENTH AFFIRMATIVE DEFENSE

        29.     Plaintiff’s Complaint fails to state a claim upon which relief can be granted because

the ’365 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.

                               EIGHTH AFFIRMATIVE DEFENSE

        30.     Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any system employed by

Mobisoft practices: “sending a request from a requesting positional information device to a server

for at least one address stored in at least one sending positional information device, the request

including a first identifier of the requesting positional information device”; and “receiving at the

requesting positional information device, from the server, a retrieved at least one address to the

requesting positional information device wherein the server determines a second identifier for

identifying the at least one sending positional information device based on the received first

identifier and retrieves the requested at least one address stored in the identified at least one sending

positional information device”; as required by Claim 1 of the ’365 Patent.

                                  NINTH AFFIRMATIVE DEFENSE

        31.     Plaintiff is estopped, based on statements, representations, and admissions made

during prosecution of the patent application resulting in the asserted patent, from asserting any

interpretation of any valid, enforceable claims of the ’365 Patent that would be broad enough to

cover any accused product alleged to infringe the asserted patent, either literally or by application

of the doctrine of equivalents.




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                                TENTH AFFIRMATIVE DEFENSE

        32.    Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286

and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with

its action.

                           ELEVENTH AFFIRMATIVE DEFENSE

        33.    Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and or

increased damages under 35 U.S.C. §§ 284 or 285.

                            TWELFTH AFFIRMATIVE DEFENSE

        34.    Should Mobisoft be found to infringe any valid, enforceable claim of the ’365

Patent, such infringement was not willful.

                         III.    MOBISOFT’S COUNTERCLAIMS

        35.    For its counterclaims against Plaintiff Social Positioning Input Systems, LLC

(“SPIS”), Counterclaim Plaintiff Mobisoft Infotech, LLC ( “Mobisoft”), alleges as follows:

                                             PARTIES

        36.    Counterclaim Plaintiff Mobisoft is a Texas limited liability company that maintains

a place of business at 1811 Bering Dr., Suite 200, Houston, Texas 77057.

        37.    Upon information and belief based solely on Paragraph 3 of the Complaint as pled

by Plaintiff, Counterclaim Defendant Social Positioning Input Systems, LLC is a limited liability

company organized and existing under the laws of Texas that maintains its principal place of

business at 1 East Broward Boulevard, Suite 700, Ft. Lauderdale, Florida 33301.

                                        JURISDICTION

        38.    Mobisoft incorporates by reference Paragraphs 36-37 above.




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         39.    These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

         40.    SPIS has consented to the personal jurisdiction of this Court at least by commencing

its action for patent infringement in this District, as set forth in its Complaint.

         41.    Based solely on SPIS’s filing of this action, venue is proper for purposes of these

Counterclaims in this District pursuant at least to 28 U.S.C. §§ 1391 and 1400.

                                 COUNT I
         DECLARATION REGARDING NON-INFRINGEMENT OF THE ‘365 PATENT

         42.    Mobisoft incorporates by reference the allegations contained in Paragraphs 35–41

above.

         43.    Based on SPIS’s filing of this action and at least Mobisoft’s first affirmative

defense, an actual controversy has arisen and now exists between the parties as to whether

Mobisoft infringes U.S. Patent No. 9,261,365 (the “’365 Patent”).

         44.    Mobisoft does not infringe at least Claim 1 of the ’365 Patent because, inter alia,

Plaintiff has not stated a plausible allegation that any system employed by Mobisoft practices:

“sending a request from a requesting positional information device to a server for at least one

address stored in at least one sending positional information device, the request including a first

identifier of the requesting positional information device”; and “receiving at the requesting

positional information device, from the server, a retrieved at least one address to the requesting

positional information device wherein the server determines a second identifier for identifying the

at least one sending positional information device based on the received first identifier and

retrieves the requested at least one address stored in the identified at least one sending positional

information device.”

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         45.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Mobisoft requests a declaration by the Court that Mobisoft has not infringed and does not infringe

any claim of the ’365 Patent under any theory (including directly (whether individually or jointly)

or indirectly (whether contributorily or by inducement).

                                     COUNT II
                         DECLARATION REGARDING INVALIDITY

         46.   Mobisoft incorporates by reference the allegations contained in Paragraphs 35–45

above.

         47.   Based on SPIS’s filing of this action and at least Mobisoft’s Second Affirmative

Defense, an actual controversy has arisen and now exists between the parties as to the validity of

the claims of the ’365 Patent..

         48.   On information and belief, the claims of the ’365 Patent are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, and the rules,

regulations, and laws pertaining thereto.

         49.   For example, the ’365 Patent is invalid for failure to comply with 35 U.S.C. § 101.

The ’365 Patent claims nothing more than an abstract idea—it fails to claim an inventive concept.

         50.   Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

Mobisoft requests a declaration by the Court that the claims of the ’365 Patent are invalid for

failure to comply with one or more of the requirements of United States Code, Title 35, including

without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

         51.   Mobisoft does not have an adequate remedy at law.




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                                     PRAYER FOR RELIEF

       52.    WHEREFORE, Mobisoft asks this Court to enter judgment in Mobisoft’s favor

against SPIS by GRANTING the following relief:

   a. A declaration that the ‘365 Patent is invalid;

   b. A declaration that Mobisoft does not infringe, under any theory, any valid claim of the ‘365

       Patent that may be enforceable;

   c. A declaration that SPIS take nothing by its Complaint;

   d. Judgment against SPIS in favor of Mobisoft;

   e. Dismissal of the Complaint with prejudice;

   f. A finding that this case is an exceptional case under 35 U.S.C. § 285 and award Mobisoft

       its costs and attorneys’ fees incurred in this action; and

   g. All further relief, general or special, in law or equity, as the Court deems just and proper.

                                         JURY DEMAND

       53.    Mobisoft hereby demands trial by jury on all issues.

Dated: June 8, 2021.                  Respectfully Submitted,

                                      SPONSEL MILLER GREENBERG PLLC

                                      /s/ Thane Tyler Sponsel III
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 8th day of June 2021, I electronically transmitted the attached
Defendants’ Original Answer, Affirmative Defenses and Claims to the Clerk of the Court using
the ECF System for filing and transmittal of a Notice of Electronic Filing to the following ECF
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                                              Thane Tyler Sponsel III




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